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                                                                      February 16, 2018

         BY ECF
         Hon. Michael A. Telesca
         United States District Judge
         Kenneth B. Keating Federal Building
         100 State Street
         Rochester, New York 14614

                 Re: Quintin Keene v. City of Rochester, et al., 17-cv-06708 (MAT)

         Your Honor:

               I write to bring to your attention the February 14, 2018 decision of Judge Larimer in the
         matter of Dwayne Ivery v. Alexander C. Baldauf, et al., 14-cv-6041L, 2018 U.S. Dist. LEXIS
         24372 (W.D.N.Y. Feb. 14, 2018) which further demonstrates that the Monell claims in the
         instant matter are not plausibly pleaded.1

               Here, in the First Amended Complaint (“FAC”), plaintiff alleges, at paragraphs 235 to
         242, that the allegations made against Officers Baldauf and Harris in the Ivery matter support a
         purported pattern of misconduct to which the City has been deliberately indifferent, thereby
         giving rise to Monell liability. Yet in sharp contrast to the allegations in the FAC, Judge
         Larimer’s Ivery decision dismisses all claims against Officer Harris.2 Further, Judge Larimer
         found no evidence, after full discovery, of the City’s deliberate indifference to any pattern or
         practice of police misconduct and, therefore, dismissed the Monell claims. In reaching this
         decision, Judge Larimer reasoned:

                          In support of his [Monell] claims, plaintiff asserts that the RPD
                          has failed to investigate past cases of excessive force. In support
                          of that allegation, plaintiff has cited several actions brought in
                          this Court. The records in none of those cases support plaintiff’s
                          claims here.
                          In Turner v. City of Rochester, 11-CV-6200, the parties settled
                          the action before trial. There was no admission of liability or
                          wrongdoing by either side. The same is true of Libbett v. City of
                          Rochester, 12-CV-6697. In Jones v. City of Rochester, 12-CV-
                          6082, a jury returned a verdict in favor of the four individual

1
 Judge Larimer’s Ivery decision came out one day after defendants here filed their reply memorandum
of law in support of the pending motion for partial dismissal.
2
 Because of fact disputes, the false arrest and excessive force claims against Officer Baldauf in the Ivery
matter will proceed to trial.
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                        RPD officer defendants. The other cases cited by plaintiff are
                        similar, and do not indicate that defendants turned a blind eye to
                        past alleged uses of excessive force by RPD officers.
                        In short, plaintiff has cited a handful of past cases in which
                        similar allegations were made, but never proved. As recently
                        stated by another district court from this circuit, “a plaintiff's
                        citation to a few lawsuits involving claims of alleged
                        [constitutional violations] is not probative of the existence of an
                        underlying policy by a municipality.” Harris v. City of
                        Newburgh, No. 16-CV-2731, 2017 WL 4334141, at *5
                        (S.D.N.Y. Sept. 27, 2017) (citing cases).
               Here, plaintiff proceeds on the same deliberate indifference theory of liability, which fails
         for the reasons set forth in defendants’ motion, and as articulated by Judge Larimer in the Ivery
         decision.3

                                                                     Sincerely,

                                                                       /s/

                                                                     Patrick Beath
                                                                     Municipal Attorney

         Enc.

         C:     Elliot Dolby-Shields, Esq. (By ECF)




3
  That Ivery was a summary judgment decision does not change this analysis—rather, it strengthens it.
In Ivery, the plaintiff had every opportunity to muster facts and evidence to demonstrate a purported
pattern of misconduct beyond mere allegations. The plaintiff failed to do that. This only underscores
that a Monell claim should not be allowed to proceed upon mere unsubstantiated allegations of
misconduct.
